                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     No.3:94-CR-65-BO-12


WILLIAM DAVID WILSON,                        )
                                             )
                              Petitioner,    )
                                             )
               v.                            )               ORDER
                                             )
U1\HTED STATES OF AMERICA,                   )
                                             )
                              Respondent.    )
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       This matter is before the Court on Petitioner's Motion for Jail Credit. Petitioner is

currently incarcerated at FCI - Low in Petersburg, Virginia. The appropriate jurisdictional basis

to challenge prior custody credit is through a petition for writ of habeas corpus under 28 U.S.C. §

2241. Romandine v. United States, 206 F.3d 731, 736 (7th Cir. 2000). Such a petition may only

be maintained in the district where there is in personam jurisdiction over Petitioner's immediate

custodian. Rums/eld v. Padilla, 542 U.S. 426,434 (2004). Here, Petitioner's immediate

custodian is the Warden ofFCI - Low in the Eastern District of Virginia. Therefore, the Motion

is hereby DISMISSED because this Court lacks jurisdiction.



       SO ORDERED, this     -f.;-    day of August, 2010.




                                             T RRENCE W. BOYLE
                                             UNITED STATES DISTRIC




         Case 3:94-cr-00065-BO         Document 508         Filed 08/06/10     Page 1 of 1
